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  1        IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF MISSOURI
  2
       RACHEL AUMICK, Individually           )
  3    and on behalf of the Heirs            )
       at Law of SHANE AUMICK,               )
  4    Deceased,                             )
                                             )
  5         Plaintiff,                       )
                                             )
  6         -vs-                             )          No.
                                             )   6:21-CV-03072-BP
  7    DOUGLAS COUNTY, MISSOURI,             )
       et al.,                               )
  8                                          )
            Defendants.                      )
  9
 10
 11
 12
 13
 14                 VIDEORECORDED DEPOSITION OF
               LIEUTENANT DWAYNE A. BUTTERWORTH, III
 15
                   TAKEN ON BEHALF OF THE PLAINTIFF
 16
                             OCTOBER 22, 2021
 17
 18
 19
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                                                             Exhibit 5
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  1                  Q.    Did you ever separately talk to Mary
  2    Aumick as a witness to what had happened while
  3    Officer Berkshire was present at the residence?
  4                  A.    That I don't remember other than
  5    asking her if she was okay.
  6                  Q.    Did you have any concerns that this
  7    alleged knife incident between Shane Aumick and
  8    Officer Berkshire was not on his body camera footage?
  9                  A.    Did I have any concern about it not
 10    being on there?
 11                  Q.    Correct.
 12                  A.    Yeah, considering our policy.
 13                  Q.    And that is not in compliance with
 14    your policy, correct?
 15                  A.    That is correct.
 16                  Q.    And once your vehicles are activated
 17    on a call, isn't the body cam footage automatically
 18    activated?
 19                  A.    No.
 20                  Q.    You can manually deactivate and
 21    activate it?
 22                  A.    Yes.
 23                  Q.    What is the reason for manually
 24    activating it?
 25                  A.    Anytime where we receive a call to



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  1    where we have to speak to anyone or deal with any
  2    individual or any incident.
  3                  Q.    And why is that important?
  4                  A.    Just to make sure that no one says
  5    that we've said or done something that didn't happen.
  6                  Q.    Or -- and also to document --
  7                  A.    Uh-huh.
  8                  Q.    -- what actually did happen, correct?
  9                  A.    Yes.
 10                  Q.    Your report then states, at this
 11    time, while paramedics were working on Shane, I had
 12    Officer Berkshire again go speak with Mary and the
 13    stepfather to make sure nothing was left out of their
 14    statements.     The paramedics continued to work on
 15    Shane until 0705 hours, correct?
 16                  A.    Yes.
 17                  Q.    In your review of Officer Berkshire's
 18    questioning and speaking with Mary Aumick and Mr.
 19    Thomas, Houston Thomas, the gentleman who was there
 20    with her, --
 21                  A.    Uh-huh.
 22                  Q.    -- did they ever speak of or discuss
 23    a knife encounter between Shane Aumick and Officer
 24    Berkshire?
 25                  A.    I don't remember if it was -- if that



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